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                      Assessment of the Migrant Protection Protocols (MPP)
                                        October 28, 2019

    I.    Overview and Legal Basis

The Department of Homeland Security (DHS) remains committed to using all available tools to
address the unprecedented security and humanitarian crisis at the southern border of the United
States.

      •   At peak of the crisis in May 2019, there were more than 4,800 aliens crossing the border
          daily—representing an average of more than three apprehensions per minute.

      •   The law provides for mandatory detention of aliens who unlawfully enter the United
          States between ports of entry if they are placed in expedited removal proceedings.
          However, resource constraints during the crisis, as well as other court-ordered limitations
          on the ability to detain individuals, made many releases inevitable, particularly for aliens
          who were processed as members of family units.

Section 235(b)(2)(C) of the Immigration and Nationality Act (INA) authorizes the Department of
Homeland Security to return certain applicants for admission to the contiguous country from
which they are arriving on land (whether or not at a designated port of entry), pending removal
proceedings under INA § 240.

      •   Consistent with this express statutory authority, DHS began implementing the Migrant
          Protection Protocols (MPP) and returning aliens subject to INA § 235(b)(2)(C) to
          Mexico, in January 2019.

      •   Under MPP, certain aliens who are nationals and citizens of countries other than Mexico
          (third-country nationals) arriving in the United States by land from Mexico who are not
          admissible may be returned to Mexico for the duration of their immigration proceedings.

The U.S. government initiated MPP pursuant to U.S. law, but has implemented and expanded the
program through ongoing discussions, and in close coordination, with the Government of
Mexico (GOM).

      •   MPP is a core component of U.S. foreign relations and bilateral cooperation with GOM
          to address the migration crisis across the shared U.S.-Mexico border.

      •   MPP expansion was among the key “meaningful and unprecedented steps” undertaken by
          GOM “to help curb the flow of illegal immigration to the U.S. border since the launch of
          the U.S.-Mexico Declaration in Washington on June 7, 2019.”1



1
 https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
secretary-marcelo-ebrard/

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       •   On September 10, 2019, Vice President Pence and Foreign Minister Ebrard “agree[d] to
           implement the Migrant Protection Protocols to the fullest extent possible.”2

       •   Therefore, disruption of MPP would adversely impact U.S. foreign relations—along with
           the U.S. government’s ability to effectively address the border security and humanitarian
           crisis that constitutes an ongoing national emergency.3


    II.    MPP Has Demonstrated Operational Effectiveness

In the past nine months—following a phased implementation, and in close coordination with
GOM—DHS has returned more than 55,000 aliens to Mexico under MPP. MPP has been an
indispensable tool in addressing the ongoing crisis at the southern border and restoring integrity
to the immigration system.

       Apprehensions of Illegal Aliens are Decreasing

       •   Since a recent peak of more than 144,000 in May 2019, total enforcement actions—
           representing the number of aliens apprehended between points of entry or found
           inadmissible at ports of entry—have decreased by 64%, through September 2019.

       •   Border encounters with Central American families—who were the main driver of the
           crisis and comprise a majority of MPP-amenable aliens—have decreased by
           approximately 80%.

       •   Although MPP is one among many tools that DHS has employed in response to the
           border crisis, DHS has observed a connection between MPP implementation and
           decreasing enforcement actions at the border—including a rapid and substantial decline
           in apprehensions in those areas where the most amenable aliens have been processed and
           returned to Mexico pursuant to MPP.


       MPP is Restoring Integrity to the System

       •   Individuals returned to Mexico pursuant to MPP are now at various stages of their
           immigration proceedings: some are awaiting their first hearing; some have completed
           their first hearing and are awaiting their individual hearing; some have received an order
           of removal from an immigration judge and are now pursuing an appeal; some have
           established a fear of return to Mexico and are awaiting their proceedings in the United
           States; some have been removed to their home countries; and some have withdrawn
           claims and elected to voluntarily return to their home countries.

2
  https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
secretary-marcelo-ebrard/
3
  https://www.whitehouse.gov/presidential-actions/presidential-proclamation-declaring-national-emergency-
concerning-southern-border-united-states/

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  •   MPP returnees with meritorious claims can be granted relief or protection within months,
      rather than remaining in limbo for years while awaiting immigration court proceedings in
      the United States.

      o The United States committed to GOM to minimize the time that migrants wait in
        Mexico for their immigration proceedings. Specifically, the Department of Justice
        (DOJ) agreed to treat MPP cases such as detained cases such that they are prioritized
        according to longstanding guidance for such cases.

      o The first three locations for MPP implementation—San Diego, Calexico, and El
        Paso—were chosen because of their close proximity to existing immigration courts.

      o After the June 7, 2019, Joint Declaration between GOM and the United States
        providing for expansion of MPP through bilateral cooperation, DHS erected
        temporary, dedicated MPP hearing locations at ports of entry in Laredo and
        Brownsville, in coordination with DOJ, at a total six-month construction and
        operation cost of approximately $70 million.

      o Individuals processed in MPP receive initial court hearings within two to four
        months, and—as of October 21, 2019—almost 13,000 cases had been completed at
        the immigration court level.

      o A small subset of completed cases have resulted in grants of relief or protection,
        demonstrating that MPP returnees with meritorious claims can receive asylum, or any
        relief or protection for which they are eligible, more quickly via MPP than under
        available alternatives.

      o Individuals not processed under MPP generally must wait years for adjudication of
        their claims. There are approximately one million pending cases in DOJ immigration
        courts. Assuming the immigration courts received no new cases and completed
        existing cases at a pace of 30,000 per month—it would take several years, until
        approximately the end of 2022, to clear the existing backlog.

  •   MPP returnees who do not qualify for relief or protection are being quickly removed
      from the United States. Moreover, aliens without meritorious claims—which no longer
      constitute a free ticket into the United States—are beginning to voluntarily return home.

      o According to CBP estimates, approximately 20,000 people are sheltered in northern
        Mexico, near the U.S. border, awaiting entry to the United States. This number—
        along with the growing participation in an Assisted Voluntary Return (AVR) program
        operated by the International Organization for Migration (IOM), as described in more
        detail below—suggests that a significant proportion of the 55,000+ MPP returnees
        have chosen to abandon their claims.



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III.   Both Governments Endeavor to Provide Safety and Security for Migrants

   •   The Government of Mexico (GOM) has publicly committed to protecting migrants.

       o A December 20, 2018, GOM statement indicated that “Mexico will guarantee that
         foreigners who have received their notice fully enjoy the rights and freedoms
         recognized in the Constitution, in the international treaties to which the Mexican State
         is a party, as well as in the current Migration Law. They will be entitled to equal
         treatment without any discrimination and due respect to their human rights, as well as
         the opportunity to apply for a work permit in exchange for remuneration, which will
         allow them to meet their basic needs.”

          ▪   Consistent with its commitments, GOM has accepted the return of aliens
              amenable to MPP. DHS understands that MPP returnees in Mexico are provided
              access to humanitarian care and assistance, food and housing, work permits, and
              education.

          ▪   GOM has launched an unprecedented enforcement effort bringing to justice
              transnational criminal organizations (TCOs) who prey on migrants transiting
              through Mexico—enhancing the safety of all individuals, including MPP-
              amenable aliens.

       o As a G-20 country with many of its 32 states enjoying low unemployment and crime,
         Mexico’s commitment should be taken in good faith by the United States and other
         stakeholders. Should GOM identify any requests for additional assistance, the United
         States is prepared to assist.

   •   Furthermore, the U.S. government is partnering with international organizations offering
       services to migrants in cities near Mexico’s northern border.

       o In September 2019, the U.S. Department of State Bureau of Population, Refugees,
         and Migration (PRM) funded a $5.5 million project by IOM to provide shelter in
         cities along Mexico’s northern border to approximately 8,000 vulnerable third-
         country asylum seekers, victims of trafficking, and victims of violent crime in cities
         along Mexico’s northern border.

       o In late September 2019, PRM provided $11.9 million to IOM to provide cash-based
         assistance for migrants seeking to move out of shelters and into more sustainable
         living.

   •   The U.S. Government is also supporting options for those individuals who wish to
       voluntarily withdraw their claims and receive free transportation home. Since November
       2018, IOM has operated its AVR program from hubs within Mexico and Guatemala,
       including Tijuana and Ciudad Juarez. PRM has provided $5 million to IOM to expand
       that program to Matamoros and Nuevo Laredo and expand operations in other Mexican

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      northern border cities. As of mid-October, almost 900 aliens in MPP have participated in
      the AVR program.

  •   The United States’ ongoing engagement with Mexico is part of a larger framework of
      regional collaboration. Just as United Nations High Commissioner for Refugees has
      called for international cooperation to face the serious challenges in responding to large-
      scale movement of migrants and asylum-seekers travelling by dangerous and irregular
      means, the U.S. Government has worked with Guatemala, El Salvador, and Honduras to
      form partnerships on asylum cooperation (which includes capacity-building assistance),
      training and capacity building for border security operations, biometrics data sharing and
      increasing access to H-2A and H-2B visas for lawful access to the United States.



IV.   Screening Protocols Appropriately Assess Fear of Persecution or Torture

  •   When a third-country alien states that he or she has a fear of persecution or torture in
      Mexico, or a fear of return to Mexico, the alien is referred to U.S. Citizenship &
      Immigration Services (USCIS). Upon referral, USCIS conducts an MPP fear-assessment
      interview to determine whether it is more likely than not that the alien will be subject to
      torture or persecution on account of a protected ground if returned to Mexico.

         o MPP fear assessments are conducted consistent with U.S. law implementing the
           non-refoulement obligations imposed on the United States by certain international
           agreements and inform whether an alien is processed under—or remains—in
           MPP.

         o As used here, “persecution” and “torture” have specific international and
           domestic legal meanings distinct from fear for personal safety.

  •   Fear screenings are a well-established part of MPP. As of October 15, 2019, USCIS
      completed over 7,400 screenings to assess a fear of return to Mexico.

         o That number included individuals who express a fear upon initial encounter, as
           well as those who express a fear of return to Mexico at any subsequent point in
           their immigration proceedings, including some individuals who have made
           multiple claims.

         o Of those, approximately 13% have received positive determinations and 86%
           have received negative determinations.

         o Thus, the vast majority of those third-country aliens who express fear of return to
           Mexico are not found to be more likely than not to be tortured or persecuted on
           account of a protected ground there. This result is unsurprising, not least because
           aliens amenable to MPP voluntarily entered Mexico en route to the United States.


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 V.    Summary and Conclusion

In recent years, only about 15% of Central American nationals making asylum claims have been
granted relief or protection by an immigration judge. Similarly, affirmative asylum grant rates
for nationals of Guatemala, El Salvador, and Honduras were approximately 21% in Fiscal Year
2019. At the same time, there are—as noted above—over one million pending cases in DOJ
immigration courts, in addition to several hundred thousand asylum cases pending with USCIS.

These unprecedented backlogs have strained DHS resources and challenged its ability to
effectively execute the laws passed by Congress and deliver appropriate immigration
consequences: those with meritorious claims can wait years for protection or relief, and those
with non-meritorious claims often remain in the country for lengthy periods of time.

This broken system has created perverse incentives, with damaging and far-reaching
consequences for both the United States and its regional partners. In Fiscal Year 2019, certain
regions in Guatemala and Honduras saw 2.5% of their population migrate to the United States,
which is an unsustainable loss for these countries.

MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens
to assert claims for relief or protection, many of which may be meritless, as a means to enter the
United States to live and work during the pendency of multi-year immigration proceedings.
Even more importantly, MPP also provides an opportunity for those entitled to relief to obtain it
within a matter of months. MPP, therefore, is a cornerstone of DHS’s ongoing efforts to restore
integrity to the immigration system—and of the United States’ agreement with Mexico to
address the crisis at our shared border.




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                 Appendix A: Additional Analysis of MPP Fear-Assessment Protocol


U.S. Citizenship and Immigration Services (USCIS) strongly believes that if DHS were to
change its fear-assessment protocol to affirmatively ask an alien amenable to MPP whether he or
she fears return to Mexico, the number of fraudulent or meritless fear claims will significantly
increase. This prediction is, in large part, informed by USCIS’s experience conducting credible
fear screenings for aliens subject to expedited removal. Credible fear screenings occur when an
alien is placed into expedited removal under section 235(b)(1) of the Immigration and
Nationality Act – a streamlined removal mechanism enacted by Congress to allow for prompt
removal of aliens who lack valid entry documents or who attempt to enter the United States by
fraud – and the alien expresses a fear of return to his or her home country or requests asylum.
Under current expedited removal protocol, the examining immigration officer – generally U.S.
Customs and Border Protection officers at a port of entry or Border Patrol agents – read four
questions, included on Form I-867B, to affirmatively ask each alien subject to expedited removal
whether the alien has a fear of return to his or her country of origin.4

The percentage of aliens subject to expedited removal who claimed a fear of return or requested
asylum was once quite modest. However, over time, seeking asylum has become nearly a default
tactic used by undocumented aliens to secure their release into the United States. For example,
in 2006, of the 104,440 aliens subjected to expedited removal, only 5% (5,338 aliens) were
referred for a credible fear interview with USCIS. In contrast, 234,591 aliens were subjected to
expedited removal in 2018, but 42% (or 99,035) were referred to USCIS for a credible fear
interview, significantly straining USCIS resources.

Table A1: Aliens Subject to Expedited Removal and Share Making Fear Claims, FY 2006 - 2018

               Fiscal Year       Subjected to     Referred for a     Percentage
                                 Expedited        Credible Fear      Referred for
                                 Removal          Interview          Credible Fear
               2006              104,440          5,338              5%
               2007              100,992          5,252              5%
               2008              117,624          4,995              4%
               2009              111,589          5,369              5%
               2010              119,876          8,959              7%
               2011              137,134          11,217             8%
               2012              188,187          13,880             7%
               2013              241,442          36,035             15%
               2014              240,908          51,001             21%
               2015              192,120          48,052             25%
               2016              243,494          94,048             39%
               2017              178,129          78,564             44%
               2018              234,591          99,035             42%

4
    See 8 C.F.R.§ 235.3(b)(2).

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    Transitioning to an affirmative fear questioning model for MPP-amenable aliens would likely
    result in a similar increase. Once it becomes known that answering “yes” to a question can
    prevent prompt return to Mexico under MPP, DHS would experience a rise in fear claims similar
    to the expedited removal/credible fear process. And, affirmatively drawing out this information
    from aliens rather than reasonably expecting them to come forward on their own initiative could
    well increase the meritless fear claims made by MPP-amenable aliens.

    It also bears emphasis that relatively small proportions of aliens who make fear claims ultimately
    are granted asylum or another form of relief from removal. Table A2 describes asylum outcomes
    for aliens apprehended or found inadmissible on the Southwest Border in fiscal years 2013 –
    2018. Of the 416 thousand aliens making fear claims during that six-year period, 311 thousand
    (75 percent) had positive fear determinations, but only 21 thousand (7 percent of positive fear
    determinations) had been granted asylum or another form of relief from removal as of March 31,
    2019, versus 72 thousand (23 percent) who had been ordered removed or agreed to voluntary
    departure. (Notably, about 70 percent of aliens with positive fear determinations in FY 2013 –
    2018 remained in EOIR proceedings as of March 31, 2019.)

    Table A2: Asylum Outcomes, Southwest Border Encounters, FY 2013 – 2018

Year of Encounter                            2013       2014       2015       2016       2017       2018        Total
Total Encounters                             490,093    570,832    446,060    560,432    416,645    522,626     3,006,688
Subjected to ER                              225,426    222,782    180,328    227,382    160,577    214,610     1,231,105
              1
Fear Claims                                  39,648     54,850     50,588     98,265     72,026     100,756     416,133
 Positive Fear Determinations2               31,462     36,615     35,403     76,005     55,251     75,856      310,592
                                  3
 Asylum Granted or Other Relief              3,687      4,192      3,956      4,775      2,377      2,168       21,155
                                             11.7%      11.4%      11.2%      6.3%       4.3%       2.9%        6.8%
 Removal Orders4                             9,980      11,064     9,466      17,700     12,130     11,673      72,013
                                             31.7%      30.2%      26.7%      23.3%      22.0%      15.4%       23.2%
 Asylum Cases Pending                        17,554     21,104     21,737     53,023     40,586     61,918      215,922
                                             55.8%      57.6%      61.4%      69.8%      73.5%      81.6%       69.5%
 Other                                       241        255        244        507        158        97          1,502

    Source: DHS Office of Immigration Statistics Enforcement Lifecycle.
         Notes for Table A2: Asylum outcomes are current as of March 31, 2019.
         1
           Fear claims include credible fear cases completed by USCIS as well as individuals who claimed fear
         at the time of apprehension but who have no record of a USCIS fear determination, possibly because
         they withdrew their claim.
         2
           Positive fear determinations include positive determinations by USCIS as well as negative USCIS
         determinations vacated by EOIR.
         3
           Asylum granted or other relief includes withholding of removal, protection under the Convention
         Against Torture, Special Immigrant Juvenile status, cancelation of removal, and other permanent
         status conferred by EOIR.
         4
           Removal orders include completed repatriations and unexecuted orders of removal and grants of
         voluntary departure.



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Implementing MPP assessments currently imposes a significant resource burden to DHS. As of
October 15, 2019, approximately 10% of individuals placed in MPP have asserted a fear of
return to Mexico and have been referred to an asylum officer for a MPP fear assessment. The
USCIS Asylum Division assigns on average approximately 27 asylum officers per day to handle
this caseload nationwide. In addition, the Asylum Division must regularly expend overtime
resources after work hours and on weekends to keep pace with the same-day/next-day processing
requirements under MPP. This workload diverts resources from USCIS’s affirmative asylum
caseload, which currently is experiencing mounting backlogs.

Most importantly, DHS does not believe amending the process to affirmatively ask whether an
alien has a fear of return to Mexico is necessary in order to properly identify aliens with
legitimate fear claims in Mexico because under DHS’s current procedures, aliens subject to MPP
may raise a fear claim to DHS at any point in the MPP process. Aliens are not precluded
from receiving a MPP fear assessment from an asylum officer if they do not do so initially upon
apprehension or inspection, and many do. As of October 15, 20195, approximately 4,680 aliens
subject to MPP asserted a fear claim and received an MPP fear-assessment after their initial
encounter or apprehension by DHS, with 14% found to have a positive fear of return to Mexico.
Additionally, Asylum Division records indicate as of October 15, 20196, approximately 618
aliens placed into MPP have asserted multiple fear claims during the MPP process (from the
point of placement into MPP at the initial encounter or apprehension) and have therefore
received multiple fear assessments to confirm whether circumstances have changed such that the
alien should not be returned to Mexico. Of these aliens, 14% were found to have a positive fear
of return to Mexico.

Additionally, asylum officers conduct MPP fear assessments with many of the same safeguards
provided to aliens in the expedited removal/credible fear context. For example, DHS officers
conduct MPP assessment interviews in a non-adversarial manner, separate and apart from the
general public, with the assistance of language interpreters when needed.7

In conducting MPP assessments, asylum officers apply a “more likely than not” standard, which
is a familiar standard. “More likely than not” is equivalent to the “clear probability” standard for
statutory withholding and not unique to MPP. Asylum officers utilize the same standard in the
reasonable fear screening process when claims for statutory withholding of removal and
protection under the Convention Against Torture (CAT).8 The risk of harm standard for
withholding (or deferral) of removal under the Convention Against Torture (CAT) implementing
regulations is the same, i.e., “more likely than not.”9 In addition to being utilized by asylum


5
  USCIS began tracking this information on July 3, 2019.
6
  USCIS began tracking this information on July 3, 2019.
7
  USCIS Policy Memorandum PM-602-0169, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, 2019 WL 365514 (Jan. 28, 2019).
8
  See INA § 241(b)(3); 8 C.F.R. § 1208.16(b)(2) (same); See 8 C.F.R. § 1208.16(c)(2).
9
  See 8 C.F.R. § 1208.16(c)(2); Regulations Concerning the Convention Against Torture, 64 Fed. Reg. 8478, 8480
(Feb. 19, 1999) (detailing incorporation of the “more likely than not” standard into U.S. CAT ratification history);
see also Matter of J-F-F-, 23 I&N Dec. 912 (BIA 2006).



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officers in other protection contexts, the “more likely than not” standard satisfies the U.S.
government’s non-refoulement obligations.




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